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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                ________________________

In re:
                                                  Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                                  Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                               Plaintiff,

         v.                                       Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

            PLAINTIFF’S SUPPLEMENTAL RESPONSE IN OPPOSITION TO
         DEFENDANT SHERRY D. CLUCHEY’S MOTION TO DISMISS COUNT IV,
                      COUNT V, COUNT VI, AND COUNT VII

         On July 20, 2021, the Court held a hearing (the “Hearing”) on the Motion to Dismiss Count

IV, Count V, Count VI, and Count VII (Dkt. No. 18) (the “Motion to Dismiss”) filed by Defendant

Sherry D. Cluchey (“Mrs. Cluchey”) and the Response in Opposition to the Motion to Dismiss

(Dkt. No. 22) (the “Response”) filed by Plaintiff World Energy Innovations, LLC, formerly doing

business as Worthington Energy Innovations, LLC (“WEI”). At the Hearing, the Court ordered

the parties to file supplemental briefs on the Sixth Circuit’s decision in Holley v. Corcoran (In re

Holley), 661 F. App’x 391, 396 (6th Cir. 2016), and scheduled a continued hearing for September

16, 2021. For its supplemental brief, WEI states as follows:




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I.         The Court has “related to” jurisdiction over the claims against Mrs. Cluchey because
           a determination of those claims will necessarily affect the administration of Mr.
           Cluchey’s bankruptcy estate.

           1.       As explained in WEI’s Response to the Motion to Dismiss, which WEI incorporates

by reference, this Court has “related to” jurisdiction over WEI’s claims against Mrs. Cluchey

because a determination of those claims could conceivably (and in fact will) affect the

administration of the bankruptcy estate of Mr. Cluchey.1 See Michigan Employment Sec. Comm’n

v. Wolverine Radio Co., Inc., 930 F.2d 1132, 1144 (6th Cir. 1991) (citing Pacor, Inc. v. Higgins

(In re Pacor, Inc.), 743 F.2d 984, 994 (3rd Cir. 1984)) (a bankruptcy court has jurisdiction over

any claim that could conceivably (not definitely) affect “the debtor’s rights, liabilities, options, or

freedom of action (either positively or negative) and which in any way impacts upon the handling

and administration of the bankruptcy estate.”). Counsel for Mrs. Cluchey admitted at the Hearing

that determination of the claims asserted jointly against Mr. and Mrs. Cluchey relate to and would

have a conceivable effect upon administration of the estate. And the Court observed that there

probably is jurisdiction because of the conceivable effect.

           2.       Here, the Court has “related to” jurisdiction for two distinct yet equally sufficient

reasons. First, adjudication of the claims in the Complaint will determine WEI’s Joint Claim

against Mr. and Mrs. Cluchey, which will directly impact any objection to the tenancy-by-the-

entireties exemption claimed by Mr. Cluchey. See Response at ⁋ 34. And second, based on the

nature of the claims asserted against Mr. and Mrs. Cluchey, a determination of liability as to one

will necessarily determine liability as to the other, which is an independent basis for “related to”

jurisdiction. See Response at ⁋ 35.




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    Capitalized terms not otherwise defined herein have the same meaning as in the Response.
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        3.         At the Hearing, the Court discussed the Sixth Circuit’s Holley decision. While

acknowledging that Holley involved very different facts, the Court questioned whether the Trustee

may sell Mr. and Mrs. Cluchey’s residence and whether the Trustee could get paid her expenses

of administering such a sale. As explained below, the answer to both questions is “yes.” But the

issues in Holley speak only to the first reason cited above: determination of the tenancy-by-the-

entireties exemption. Even if the Court were to find that Holley in some way bars administration

of the residence, a successful objection to Mr. Cluchey’s tenancy-by-the-entireties exemption

notwithstanding, this Court would still have “related to” jurisdiction because determining claims

against Mrs. Cluchey will necessarily determine claims against Mr. Cluchey.

II.     Neither the Holley decision nor 11 U.S.C. § 522(k) prevent the Trustee from
        administering Mr. and Mrs. Cluchey’s residence and getting paid in the event of a
        successful objection to the tenancy-by-the-entireties exemption.

        4.         Holley has an odd procedural history. The case involves an appeal from an order

denying an objection to a trustee’s final report. See Opinion Regarding Issue of the Impact on the

Payment of Administrative Fees When Claims Administered by the Chapter 7 Trustee are Secured

Only, In re Holley, Bankr. E.D. Mich. Case No. 12-33873, Doc. No. 361, attached as Exhibit A

hereto. Mr. Holley and Mrs. Monson-Holley jointly owned a residence in Michigan as tenants by

the entirety. In 2012, Mr. Holley filed an individual Chapter 7. In that case, Mr. Holley exempted

the residence using Michigan’s tenancy-by-the-entireties exemption. Mrs. Monson-Holley then

filed her own Chapter 13, also asserting a tenancy-by-the-entireties exemption in the residence.

Mrs. Monson-Holley’s case was ultimately converted to Chapter 7, and the two were ordered

jointly administered.

        5.         At first, the debtors each scheduled a joint unsecured creditor, Ms. D’Luge. But

the debtors later learned that Ms. D’Luge held a valid mortgage on their residence and amended


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their schedules to list the property as secured. The debtors then amended their exemptions, again

claiming the tenancy-by-the-entireties exemption. The trustee objected to the exemption.

        6.         While the objection was pending, the Trustee sought to sell the residence. The

debtors stipulated to the sale of the property on the condition that it be sold at a reduced price to

the debtor’s preferred bidder, which would allow the debtors to lease the property back (an unusual

choice given the exemption and pending objection). About seven months after approving the sale,

the court overruled the objection.

        7.         At the end of the case, the trustee filed a final report seeking to pay her

administrative expenses from the proceeds of the sale of the residence. The debtors objected,

asserting that administrative expenses (like the trustee’s) could only be paid from assets

administered for the benefit of unsecured creditors and not from the proceeds of a sale that

benefited only a secured creditor. And because the proceeds of the sale were fully exempt, those

proceeds could only be used to pay secured creditors, not administrative or unsecured claims. The

bankruptcy court overruled the objection, finding that the debtors “received the full value of their

exemption” by their stipulating to a sale at a lower price so they could remain in the property.

        8.         On appeal, the Sixth Circuit reversed the bankruptcy court. Citing section 522(k)

of the Bankruptcy Code, the Sixth Circuit held that a trustee cannot be paid out of the proceeds of

the sale of a debtor’s residence when the debtors have validly asserted a tenancy-by-the-entireties

exemption to which there is no valid objection. Holley, 661 F. App’x at 395. Section 522(k)

provides that exempt property cannot be used to pay administrative expenses (except in certain

circumstances not relevant in Holley). 11 U.S.C. § 522(k). Because Michigan law holds the entire

value of property exempt under the tenancy-by-the-entireties exemption, absent a valid joint




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unsecured claim and objection to the exemption, no proceeds could be used to pay unsecured

creditors or the trustee.

        9.         This case is not like Holley for two reasons. First, the claims asserted in the

Complaint and in WEI’s Joint Claim against Mr. and Mrs. Cluchey are not secured. So unlike the

claim of Ms. D’Luge in Holley, the Joint Claim can be used as a basis to object to the tenancy-by-

the-entireties exemption.

        10.        Second, since WEI has an unsecured joint claim, an objection to the tenancy-by-

the-entireties exemption should be granted, which will enable the Trustee to administer the estate’s

interest in the residence.

        11.        WEI holds a significant joint unsecured claim against the Debtor. That joint claim

arises from Mr. and Mrs. Cluchey’s receipt of a fraudulent transfer from Mr. Cluchey’s alter-ego

business, which they used to pay off the only mortgage on their residence before bankruptcy. As

a result, the entireties property at issue is wholly unencumbered.

        12.        After a successful objection to the exemption, there will be unexempt equity in Mr.

and Mrs. Cluchey’s residence equal to the value of the Joint Claim (unlike the residence in Holley,

which was found to be fully exempt). The Trustee will thus be able to administer Mr. and Mrs.

Cluchey’s residence for the benefit of WEI, the only creditor who has asserted a joint claim.

        13.        As for payment of the Trustee’s expenses, section 522(k) only applies to exempt

property and the proceeds thereof. Because the Trustee would be administering unexempt equity,

section 522(k) would not bar payment of her administrative claims from the proceeds available for

distribution to unsecured creditors.

        14.        In short, Holley presents the rare circumstance in which a court permitted a trustee

to sell fully exempt property only for the benefit of a secured creditor, which rendered the proceeds


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unavailable to pay the claims of the trustee or unsecured creditors. In this adversary proceeding,

if WEI establishes its joint unsecured claims against Mr. and Mrs. Cluchey, then an objection to

the tenancy-by-the-entireties objection should be sustained, and there will be unexempt equity in

the residence that the Trustee can administer for WEI’s benefit. This adversary proceeding will

therefore have at least a “conceivable effect,” if not a significant actual effect, on Mr. Cluchey’s

bankruptcy estate, and the Court can exercise “related to” jurisdiction over the claims asserted in

Counts IV through VII of the Complaint against Mrs. Cluchey.

        15.        It is also worth noting that along with his residence, Mr. Cluchey jointly owns

another condominium, also wholly unencumbered, with his sister (with whom he has also jointly

owned bank accounts). Even if section 522(k) somehow applied to the unexempt equity in the

entireties property, the Trustee still has another source of funds to pay her expenses of

administration.

III.    Even if the Court were to find that Holley or section 522(k) prevent the Trustee from
        administering Mr. and Mrs. Cluchey’s residence, the Court still has “related to”
        jurisdiction.

        16.        In its Complaint, WEI has asserted claims against a debtor, Mr. Cluchey, and a non-

debtor, Mrs. Cluchey.

        17.        As explained in WEI’s Response to the Motion to Dismiss, the Sixth Circuit has

expressly found that “related to” jurisdiction exists in such a situation. Response as ⁋ 38 (quoting

In re Dow Corning Corp., 86 F.3d 482, 492 (6th Cir. 1996), as amended on denial of reh’g and

reh’g en banc (June 3, 1996)). Although Dow Corning involved slightly different circumstances,

the claims asserted in Counts IV through VII of the Complaint involve the joint liability of a debtor

and non-debtor, and the resolution of a claim against one will necessarily resolve the claim against

the other (and therefore the bankruptcy estate).


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        18.        Since the residence is not the only asset the Trustee is trying to administer in this

case, there will likely be a distribution to unsecured creditors. And as counsel for the Debtor

admitted at the Hearing, WEI is substantively the only creditor, its claim being at least 99.5% of

the debt. In fact, only two other claims have been filed to date, totaling only a few hundred dollars.

See Claim No. 2, filed by American Express National Bank for $174.00 and Claim No. 3, filed by

Citibank, N.A. for $149.62. WEI has already filed its Joint Claim (Claim No. 1 in the amount of

at least $73,617.43), has filed this adversary proceeding, and will shortly be filing a proof of claim

for the non-joint amounts of at least $1,938,150.27, the minimum amount for which WEI seeks

judgment against Mr. Cluchey individually in Counts I, II, and III of the Complaint. A

determination of the validity of the claims against Mr. and Mrs. Cluchey will conceivably (and in

fact, will actually) affect the bankruptcy estate. As a result, the Court has “related to” jurisdiction.

                                               Conclusion

        WHEREFORE, WEI respectfully requests that this Court deny the Motion to Dismiss in

its entirety.

Dated: September 2, 2021                             /s/ John C. Cannizzaro
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